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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

RAY AHMED FAYAD,
                                              2:18-CV-13982-TGB-APP
                  Plaintiff,

      vs.                                 ORDER DISMISSING CASE
                                              AND RETAINING
                                         JURISDICTION TO ENFORCE
JAMES MCMAHON, et al.,                         SETTLEMENT
                  Defendants.

      The Court was notified that the parties had reached a resolution in

this matter. Accordingly, it is ORDERED that the Complaint is
DISMISSED WITH PREJUDICE.
      The Court retains jurisdiction over this matter to enforce the terms

of the settlement agreement. See, e.g., Moore v. United States Postal
Serv., 369 Fed. App’x 712 (6th Cir. 2010). Parties shall inform the Court
as soon as they have obtained approval of the settlement agreement by

the relevant municipal stakeholders. They may also submit a stipulated
judgment for entry at that time. If for any reason municipal approval is
withheld, the Court will allow Plaintiff to re-open the case.

      SO ORDERED this 25th day of January, 2022.
                                   BY THE COURT:

                                   /s/Terrence G. Berg
                                   TERRENCE G. BERG
                                   United States District Judge
